

People v Gomez (2022 NY Slip Op 00057)





People v Gomez


2022 NY Slip Op 00057


Decided on January 06, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 06, 2022

Before: Webber, J.P., Friedman, Oing, Moulton, Kennedy, JJ. 


Ind No. 3065/16, 2055/17, 3135/11 Appeal No. 14970 Case No. 2018-02934 

[*1]The People of The State of New York, Respondent, 
vJonathan Gomez, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Ronald Alfano of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Rachel Bond of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Jill Konviser, J. at plea; Michael J. Obus, J. at sentencing), rendered November 09, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 6, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








